ILND 44 (Rev. 09/20)                             CIVIL COVER
                            Case: 1:23-cv-03874 Document #: 2 Filed:SHEET
                                                                     06/20/23 Page 1 of 2 PageID #:18
The ILND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except
as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (See instructions on next page of this form.)
I. (a) PLAINTIFFS                                                                                               DEFENDANTS


   (b)   County of Residence of First Listed Plaintiff                                                          County of Residence of First Listed Defendant
                                     (Except in U.S. plaintiff cases)                                             (In U.S. plaintiff cases only)
                                                                                                                   Note: In land condemnation cases, use the location of the tract of land involved.

   (c)   Attorneys (firm name, address, and telephone number)                                                     Attorneys (If Known)




II. BASIS OF JURISDICTION (Check one box, only.)                                                  III. CITIZENSHIP OF PRINCIPAL PARTIES (For Diversity Cases Only.)
                                                                                                         (Check one box, only for plaintiff and one box for defendant.)
  1 U.S. Government                     3   Federal Question                                                                            PTF DEF                                                PTF      DEF
      Plaintiff                                (U.S. Government not a party.)                                                                               Incorporated or Principal Place of
                                                                                                           Citizen of This State            1           1                                          4        4
                                                                                                                                                            Business in This State

  2 U.S. Government                     4   Diversity                                                     Citizen of Another State       2           2    Incorporated and Principal Place          5       5
      Defendant                               (Indicate citizenship of parties in Item III.)                                                              of Business in Another State

                                                                                                          Citizen or Subject of a
                                                                                                                                         3           3    Foreign Nation                            6      6
                                                                                                          Foreign Country
IV. NATURE OF SUIT (Check one box, only.)
          CONTRACT                                                TORTS                                        PRISONER PETITIONS                       LABOR                         OTHER STATUTES
                                                                                                              510 Motions to Vacate               710 Fair Labor Standards
  110 Insurance                             PERSONAL INJURY                    PERSONAL INJURY                    Sentence                                                          375 False Claims Act
                                                                                                                                                      Act
                                                                                                              530 General                                                           376 Qui Tam (31 USC
  120 Marine                            310 Airplane                           530 General                                                        720 Labor/Management
                                                                                                                                                                                         3729 (a))
                                        315 Airplane Product                   367 Health Care                                                           Relations
                                        320 Assault, Libel & Slander                                          535 Death Penalty                                                     400 State Reapportionment
                                                                                   Pharmaceutical
  130 Miller Act
                                                                                   Personal Injury
                                                                                                              Habeas Corpus:                      740 Railway Labor Act             410 Antitrust
                                                                                   Product Liability
  140 Negotiable Instrument             340 Marine                             368 Asbestos Personal         540 Mandamus & Other                 751 Family and Medical            430 Banks and Banking
  150 Recovery of Overpayment           345 Marine Product Liability               Injury Product            55                                        Leave Act                    450 Commerce
       & Enforcement of Judgment        350 Motor Vehicle                          Liability                                                      790 Other Labor Litigation        460 Deportation
  151 Medicare Act                      355 Motor Vehicle Product                                            560 Civil Detainee -                 791 Employee Retirement           470 Racketeer Influenced
  152 Recovery of Defaulted                 Liability                      PERSONAL PROPERTY                     Conditions                                                              and Corrupt
                                                                                                                                                         Income Security Act
       Student Loan                     360 Other Personal Injury                                                of Confinement                                                         Organizations
      (Excludes Veterans)               362 Personal Injury - Medical          370 Other Fraud                                                                                      480 Consumer Credit
  153 Recovery of Veteran’s                  Malpractice                                                                                          PROPERTY RIGHTS
                                                                               371 Truth in Lending                                                                                 485 Telephone Consumer
      Benefits                                                                                                                                    820 Copyright
  160 Stockholders’ Suits                                                      380 Other Personal                                                 830 Patent                             Protection Act (TCPA)
  190 Other Contract                                                               Property Damage                                                835 Patent - Abbreviated          490 Cable/Sat TV
  195 Contract Product Liability                                               385 Property Damage                                                    New Drug Application          850 Securities/Commodities/
  196 Franchise                                                                    Product Liability                                              840 Trademark                         Exchange
                                                                                                                                                                                    890 Other Statutory Actions
                                                                                                                                                                                    891 Agricultural Arts
      REAL PROPERTY                            CIVIL RIGHTS                     BANKRUPTCY                    FORFEITURE/PENALTY                  SOCIAL SECURITY                   893 Environmental Matters
   210 Land Condemnation                                                       422 Appeal 28 USC 158          625 Drug Related Seizure            861 HIA (1395ff)                  895 Freedom of Information
                                                                               423 Withdrawal                     of Property                     862 Black Lung (923)                   Act
   220 Foreclosure                      441 Voting                                                                21 USC 881
   230 Rent Lease & Ejectment           442 Employment                               28 USC 157               690 Other                           863 DIWC/DIWW                     896 Arbitration
                                                                                                                                                         (405(g))                   899 Administrative
   240 Torts to Land                    443 Housing                                                                                                                                     Procedure
   2                                    445 Amer. w/ Disabilities               IMMIGRATION                                                       864 SSID Title XVI                    Act/Review or Appeal of
                                            Employment                         462 Naturalization                                                 865 RSI (405(g))                      Agency Decision
                                        446 Amer. w/Disabilities -                  Application                                                                                     950 Constitutionality of
                                            Other                              463 Habeas Corpus –                                                 FEDERAL TAXES                        State Statutes
                                         448 Education                             Alien Detainee                                                 870 Taxes (U.S. Plaintiff
                                                                                   (Prisoner Petition)                                                  or Defendant
                                                                               465 Other Immigration                                              871 IRS—Third Party
                                                                                    Actions                                                           26 USC 7609
V. ORIGIN (Check one box, only.)
  1 Original                2 Removed from                 3   Remanded from                     4 Reinstated                         5 Transferred                  6 Multidistrict           8 Multidistrict
    Proceeding                State Court                      Appellate Court                     or Reopened                          from Another                   Litigation -              Litigation -
                                                                                                                                        District                       Transfer                  Direct File
                                                                                                                                       (specify)

VI. CAUSE OF ACTION ( Enter U.S. Civil Statute under which you are filing and                            VII. PREVIOUS BANKRUPTCY MATTERS (For nature of suit 422 and
                                                                                                         423, enter the case number and judge for any associated bankruptcy matter previously adjudicated by
write a brief statement of cause.)                                                                       a judge of this Court. Use a separate attachment if necessary.)


VIII. REQUESTED IN                 Check if this is a class action under Rule 23,                             Demand $                              CHECK Yes only if demanded in complaint:
      COMPLAINT:                   F.R.CV.P.                                                                                                        Jury Demand:      Yes           No
IX. RELATED CASE(S) IF ANY (See instructions): Judge                                                                                         Case Number
X. Is this a previously dismissed or remanded case?                  Yes        No                          If yes, Case #                   Name of Judge

Date: ___________________________________________                                     Signature of Attorney of Record ______________________________________________
                      Case: 1:23-cv-03874 Document #: 2 Filed: 06/20/23 Page 2 of 2 PageID #:19
                  INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority for Civil Cover Sheet

The ILND 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)   Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
  (b)   County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
  (c)   Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section "(see attachment)".

II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
        United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
        United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
        Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
        Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
        citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
        cases.)

III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
        section for each principal party.

IV.     Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
        that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.      Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (1) Cases which originate in the United States district courts.
        Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
        Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
        PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
        changes in statue.

VI.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.    Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
